          Case 1:10-cv-00210-PLF Document 21 Filed 07/21/10 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

Rodney Lail, et al.                                 )      C/A No. 01:10-CV 00210 PLF
                                                    )
                                                    )
                              Plaintiffs,           )
                                                    )
vs.                                                 )
                                                    )
United States, et al.                               )
                                                    )
                              Defendants.           )



CERTIFICATE REQUIRED BY LCvR 7.1 OF THE LOCAL RULES OF THE UNITED STATES
              DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


       We, the undersigned, counsel of record for Defendants Palmetto Health Care1,

Columbia, SC; Suzanne Tillman, Individually and in her official capacity as Director with

Palmetto Senior Care; Jennifer Brewton, Individually and in her official capacity with Palmetto

Senior Care; Kathy Beers, Individually and in her official capacity as Administrator with Palmetto

Senior, Care-White Rock; The State of South Carolina; The State of South Carolina Law

Enforcement Division; Captain David Caldwell, Individually and in his official capacity with

SLED; Captain Larry Gainey, Individually and in his official capacity with SLED; Mark Keel,

Individually and in his official capacity with SLED; Mike Prodan, Individually and in his official

capacity with SLED; The South Carolina Department of Social Services, Columbia, SC;

Princess Hodges, Individually and in her official capacity with DSS; Susan Stroman, Individually

and in her official capacity with the SC Department of Social Services, SC; John Weaver,

Individually and in his official capacity as the Horry County Attorney, Horry County; Horry

County Police Chief, John Morgan, Individually and in his official capacity with Horry County;

and Horry County, Conway, SC, certify that to the best of our knowledge and belief, there are no

1
 Based on information and belief, the correct named corporate Defendant should be Palmetto
Health, a 501(c)(3) entity.


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          Case 1:10-cv-00210-PLF Document 21 Filed 07/21/10 Page 2 of 3



parent companies, subsidiaries or affiliates of any of these Defendants which have any

outstanding securities in the hands of the public.

       These representations are made in order that judges of this court may determine the

need for recusal.

                                                       Respectfully submitted,


s/Monte Fried                                        s/William C. McDow
Monte Fried                                          William C. McDow
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July 21, 2010                                        July 21, 2010

s/Eugene H. Matthews                                 s/Shelton W. Haile
Eugene H. Matthews                                   Shelton W. Haile
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July 21, 2010                                        July 21, 2010

Attorneys of Record for Defendants Palmetto Health Care, Columbia, SC; Suzanne Tillman,
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Individually and in her official capacity with Palmetto Senior Care; Kathy Beers, Individually and
in her official capacity as Administrator with Palmetto Senior, Care-White Rock; The State of
South Carolina; The State of South Carolina Law Enforcement Division; Captain David Caldwell,
Individually and in his official capacity with SLED; Captain Larry Gainey, Individually and in his
official capacity with SLED; Mark Keel, Individually and in his official capacity with SLED; Mike
Prodan, Individually and in his official capacity with SLED; The South Carolina Department of
Social Services, Columbia, SC; Princess Hodges, Individually and in her official capacity with
DSS; Susan Stroman, Individually and in her official capacity with the SC Department of Social
Services, SC; John Weaver, Individually and in his official capacity as the Horry County



                                                 2
          Case 1:10-cv-00210-PLF Document 21 Filed 07/21/10 Page 3 of 3



Attorney, Horry County; Horry County Police Chief, John Morgan, Individually and in his official
capacity with Horry County; and Horry County, Conway, SC




                                  CERTIFICATE OF SERVICE

This is to certify that on this 21 day of July, 2010, a true and correct copy of the above
Certificate Required by LCvR 7.1 of the Local Rules of the United States District Court for the
District of Columbia, was electronically transmitted to the Clerk of Court using the ECF System
for filing, and copies of said Certificate were mailed, with sufficient postage affixed thereto and
return address clearly marked, to the following parties:


Bruce Benson                                         Dan Green
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                                             s/Monte Fried
                                             Monte Fried




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